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           EXHIBIT A
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          _   :                                                                                                                            EXECUTED
          WAIA pocumenta133--2000                                                                                                            FoR
          Standard Form of Agreement Between Owner and Construction Manager as
          Constructor where the basis of payment is the Cost of the Work Plus a Fee with a Guaranteed
         Maximum Price

                                                                                                                           ADDITIONS AND DELETIONS:
                                                                                                                           The author of this document has
         AGREEMENT made as of the Second day of February in the year Two Thousand Fifteen                                  RA                   A        PN
         (In words, indicate day, month and year.)
                                                                                                                           completion. The author may also
                                                                                                                           have revised the text of the original
         BETWEEN the Owner:                                                                                                AIA standard form. An Additions and
         (Name, legal status and address)                                                                                  Deletions Report that notes added
                                                                                                                           information as well as revisions to the
         Campus Square, LLC and Campus Square Affordable, LLC                                                              standard form text is available from
         560 Delaware Avenue                                                                                               the author and should be reviewed. A
         Suite 300                                                                                                         vertical line In the left margin of this
         Buffalo, New York        14202        p,q Pilgrim Village Associates,                        LP                   document indicates where the author
                                                                                                                           has added necessary information
         and the Construction Manager:                91    Nora     Lane                                                  and where the author has added to or
         (Name, legal status and address)           ~~ Buffalo, New York                  14209-2361                       deleted from the original AIA texl.
                         ,                                                                                                 This document has Important legal
        ois        Ia Developmen, LLC
                                                                                                                           consequences. Consultation with an
         oo     es ore Roa                                                                                                 attorney is encouraged with respect
          uite                                                                                                             to its completion or modification.
         Buffalo, New York        14219-1460
                                                                                                                          AIA Document A201™-2007,
        for the following Project:                                              fy   Ap              rl                    General Conditions of the Conlract
        (Name and address or location)                                                                                    for Construclion, is adopted in this
                                                                                                                          document by reference. Do not use
        Campus Square                                                                                                     wilh other general conditions unless
        38 Holloway Blvd.                                                                                                 this document is modified.
        Buffalo, New York         14209

        The Architect:                                                   =           ‘           "
        (Name, legal status and address)


        Smith & Associates
        263 Central Avenue
        Rochester, New York         14605

        The Owner’s Designated Representative:
        (Name, address and other information)
          s         _                                                                     Mark Trammell
        Jeffrey P. Lehrbach                                                                             i                    i
        Campus Square, LLC and Campus Square Affordable, LLC                              Pilgrim Village Associates, LP
        560 Delaware Avenue                                                               91 Nora Lane
        Suite 300                                                                         Buffalo, New York              14209-2361
        Buffalo, New York        14202




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          The Construction Manager’s Designated Representative:
          (Name, address and other information)

          William Gannon
          R & P Oak Hill Development, LLC
          3556 Lakeshore Road
          Suite 620
          Buffalo, New York        14219


         The Architect’s Designated Representative:
          (Name, address and other information)


         Kenneth Smith
         Smith & Associates
         263 Central Avenue
         Rochester, New York         14605




         The Owner and Construction Manager agree as follows.




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        ARTICLE 1        GENERAL PROVISIONS
        § 1.1 The Contract Documents
        The Contract Documents consist of this Agreement, Conditions of the Contract (General, Supplementary and other
        Conditions), Drawings, Specifications, Addenda issued prior to the execution of this Agreement, other documents
        listed in this Agreement, and Modifications issued after execution of this Agreement, all of which form the Contract
        and are as fully a part of the Contract as if attached to this Agreement or repeated herein. Upon the Owner’s acceptance
        of the Construction Manager's Guaranteed Maximum Price proposal, the Contract Documents will also include the
        documents described in Section 2.2.3 and identified in the Guaranteed Maximum Price Amendment and revisions
        prepared by the Architect and furnished by the Owner as described in Section 2.2.8. The Contract represents the entire
        and integrated agreement between the parties hereto and supersedes prior negotiations, representations or agreements,
        either written or oral. If anything in the other Contract Documents, other than a Modification, is inconsistent with this
        Agreement, this Agreement shall govern.

        § 1.2 Relationship of the Parties
        The Construction Manager accepts the relationship of trust and confidence established by this Agreement and
        covenants with the Owner to cooperate with the Architect and exercise the Construction Managers skill and judgment
        in furthering the interests of the Owner; to furnish efficient construction administration, management services and
        supervision; to furnish at all times an adequate supply of workers and materials; and to perform the Work in an
        expeditious and economical manner consistent with the Owner’s interests. The Owner agrees to furnish or approve, in
        a timely manner, information required by the Construction Manager and to make payments to the Construction
        Manager in accordance with the requirements of the Contract Documents.

        § 1.3 General Conditions
        For the Preconstruction Phase, ATA Document A201™-2007, General Conditions of the Contract for Construction,
        shall apply only as specifically provided in this Agreement. For the Construction Phase, the general conditions of the
        contract shall be as set forth in A201-2007, which document is incorporated herein by reference. The term
        "Contractor" as used in A201-2007 shall mean the Construction Manager.

        ARTICLE 2     CONSTRUCTION MANAGER'S RESPONSIBILITIES
        The Construction Manager's Preconstruction Phase responsibilities are set forth in Sections 2.1 and 2.2. The
        Construction Manager’s Construction Phase responsibilities are set forth in Section 2.3. The Owner and Construction

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         Manager may agree, in consultation with the Architect, for the Construction Phase to commence prior to completion of
         the Preconstruction Phase, in which case, both phases will proceed concurrently. The Construction Manager shall
         identify a representative authorized to act on behalf of the Construction Manager with respect to the Project.

         § 2.1 Preconstruction Phase
         § 2.1.1 The Construction Manager shall provide a preliminary evaluation of the Owner’s program, schedule and
         construction budget requirements, each in terms of the other.

         § 2.1.2 Consultation
         The Construction Manager shall schedule and conduct meetings with the Architect and Owner to discuss such matters
         as procedures, progress, coordination, and scheduling of the Work. The Construction Manager shall advise the Owner
         and the Architect on proposed site use and improvements, selection of materials, and building systems and equipment.
         The Construction Manager shall also provide recommendations consistent with the Project requirements to the Owner
         and Architect on constructability; availability of materials and labor; time requirements for procurement, installation
         and construction; and factors related to construction cost including, but not limited to, costs of alternative designs or
         materials, preliminary budgets, life-cycle data, and possible cost reductions.

         § 2.1.3 When Project requirements in Section 3.1.1 have been sufficiently identified, the Construction Manager shall
         prepare and periodically update a Project schedule for the Architect’s review and the Owner’s acceptance. The
         Construction Manager shall obtain the Architect’s approval for the portion of the Project schedule relating to the
         performance of the Architect’s services. The Project schedule shall coordinate and integrate the Construction
         Manager’s services, the Architect’s services, other Owner consultants’ services, and the Owner’s responsibilities and
         identify items that could affect the Project’s timely completion. The updated Project schedule shall include the
         following: submission of the Guaranteed Maximum Price proposal; components of the Work; times of
         commencement and completion required of each Subcontractor; ordering and delivery of products, including those
         that must be ordered well in advance of construction; and the occupancy requirements of the Owner.

        § 2.1.4 Phased Construction
        The Construction Manager shall provide recommendations with regard to accelerated or fast-track scheduling,
        procurement, or phased construction. The Construction Manager shall take into consideration cost reductions, cost
        information, constructability, provisions for temporary facilities and procurement and construction scheduling issues.

        § 2.1.5 Preliminary Cost Estimates
        § 2.1.5.1 Based on the preliminary design and other design criteria prepared by the Architect, the Construction
        Manager shall prepare preliminary estimates of the Cost of the Work or the cost of program requirements using area,
        volume or similar conceptual estimating techniques for the Architect’s review and Owner's approval. If the Architect
        or Construction Manager suggests alternative materials and systems, the Construction Manager shall provide cost
        evaluations of those alternative materials and systems.

        § 2.1.5.2 As the Architect progresses with the preparation of the Schematic Design, Design Development and
        Construction Documents, the Construction Manager shall prepare and update, at appropriate intervals agreed to by the
        Owner, Construction Manager and Architect, estimates of the Cost of the Work of increasing detail and refinement
        and allowing for the further development of the design until such time as the Owner and Construction Manager agree
        on a Guaranteed Maximum Price for the Work. Such estimates shall be provided for the Architect’s review and the
        Owner’s approval, The Construction Manager shall inform the Owner and Architect when estimates of the Cost of the
        Work exceed the latest approved Project budget and make recommendations for corrective action.

        § 2.1.6 Subcontractors and Suppliers
        The Construction Manager shall develop bidders’ interest in the Project.

        § 2.1.7 The Construction Manager shall prepare, for the Architect’s review and the Owner’s acceptance, a
        procurement schedule for items that must be ordered well in advance of construction. The Construction Manager shall
        expedite and coordinate the ordering and delivery of materials that must be ordered well in advance of construction. If
        the Owner agrees to procure any items prior to the establishment of the Guaranteed Maximum Price, the Owner shall
        procure the items on terms and conditions acceptable to the Construction Manager, Upon the establishment of the
        Guaranteed Maximum Price, the Owner shall assign all contracts for these items to the Construction Manager and the
        Construction Manager shall thereafter accept responsibility for them.
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        § 2.1.8 Extent of Responsibility
        The Construction Manager shall exercise reasonable care in preparing schedules and estimates. The Construction
        Manager, however, does not warrant or guarantee estimates and schedules except as may be included as part of the
        Guaranteed Maximum Price. The Construction Manager is not required to ascertain that the Drawings and
        Specifications are in accordance with applicable laws, statutes, ordinances, codes, rules and regulations, or lawful
        orders of public authorities, but the Construction Manager shall promptly report to the Architect and Owner any
        nonconformity discovered by or made known to the Construction Manager as a request for information in such form as
        the Architect may require.

        § 2.1.9 Notices and Compliance with Laws
        The Construction Manager shall comply with applicable laws, statutes, ordinances, codes, rules and regulations, and
        lawful orders of public authorities applicable to its performance under this Contract, and with equal employment
        opportunity programs, and other programs as may be required by governmental and quasi governmental authorities for
        inclusion in the Contract Documents.

        § 2.2 Guaranteed Maximum Price Proposal and Contract Time
        § 2.2.1 Ata time to be mutually agreed upon by the Owner and the Construction Manager and in consultation with the
        Architect, the Construction Manager shall prepare a Guaranteed Maximum Price proposal for the Owner’s review and
        acceptance. The Guaranteed Maximum Price in the proposal shall be the sum of the Construction Managet’s estimate
        of the Cost of the Work, including contingencies described in Section 2.2.4, and the Construction Manager's Fee.

        § 2.2.2 To the extent that the Drawings and Specifications are anticipated to require further development by the
        Architect, the Construction Manager shall provide in the Guaranteed Maximum Price for such further development
        consistent with the Contract Documents and reasonably inferable therefrom. Such further development does not
        include such things as changes in scope, systems, kinds and quality of materials, finishes or equipment, all of which, if
        required, shall be incorporated by Change Order.

        § 2.2.3 The Construction Manager shall include with the Guaranteed Maximum Price proposal a written statement of
        its basis, which shall include the following:
                   A      Alist of the Drawings and Specifications, including all Addenda thereto, and the Conditions of the
                          Contract;
                   2      Alist of the clarifications and assumptions made by the Construction Manager in the preparation of the
                          Guaranteed Maximum Price proposal, including assumptions under Section 2.2.2, to supplement the
                          information provided by the Owner and contained in the Drawings and Specifications;
                   J      A statement of the proposed Guaranteed Maximum Price, including a statement of the estimated Cost
                          of the Work organized by trade categories or systems, allowances, contingency, and the Construction
                          Manager’s Fee;
                   4      The anticipated date of Substantial Completion upon which the proposed Guaranteed Maximum Price
                          is based; and
                   5      A date by which the Owner must accept the Guaranteed Maximum Price,

        § 2.2.4 In preparing the Construction Manager's Guaranteed Maximum Price proposal, the Construction Manager
        shall include its contingency for the Construction Manager’s exclusive use to cover those costs considered
        reimbursable as the Cost of the Work but not included in a Change Order.

        § 2.2.5 The Construction Manager shall meet with the Owner and Architect to review the Guaranteed Maximum Price
        proposal. In the event that the Owner and Architect discover any inconsistencies or inaccuracies in the information
        presented, they shall promptly notify the Construction Manager, who shall make appropriate adjustments to the
        Guaranteed Maximum Price proposal, its basis, or both.

        § 2.2.6 If the Owner notifies the Construction Manager that the Owner has accepted the Guaranteed Maximum Price
        proposal in writing before the date specified in the Guaranteed Maximum Price proposal, the Guaranteed Maximum
        Price proposal shall be deemed effective without further acceptance fiom the Construction Manager. Following
        acceptance of a Guaranteed Maximum Price, the Owner and Construction Manager shall execute the Guaranteed
        Maximum Price Amendment amending this Agreement, a copy of which the Owner shall provide to the Architect. The


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        Guaranteed Maximum Price Amendment shall set forth the agreed upon Guaranteed Maximum Price with the
        information and assumptions upon which it is based.

        § 2.2.7 The Construction Manager shall not incur any cost to be reimbursed as part of the Cost of the Work prior to the
        commencement of the Construction Phase, unless the Owner provides prior written authorization for such costs.

        § 2.2.8 The Owner shall authorize the Architect to provide the revisions to the Drawings and Specifications to
        incorporate the agreed-upon assumptions and clarifications contained in the Guaranteed Maximum Price Amendment.
        The Owner shall promptly furnish those revised Drawings and Specifications to the Construction Manager as they are
        revised. The Construction Manager shall notify the Owner and Architect of any inconsistencies between the
        Guaranteed Maximum Price Amendment and the revised Drawings and Specifications.

        § 2.2.9 The Construction Manager shall include in the Guaranteed Maximum Price all sales, consumer, use and similar
        taxes for the Work provided by the Construction Manager that are legally enacted, whether or not yet effective, at the
        time the Guaranteed Maximum Price Amendment is executed.

        § 2.3 Construction Phase
        § 2.3.1 General
        § 2.3.1.1 For purposes of Section 8.1.2 of A201-2007, the date of commencement of the Work shall mean the date of
        commencement of the Construction Phase.

        § 2.3.1.2 The Construction Phase shall commence upon the Owner’s acceptance of the Construction Manager’s
        Guaranteed Maximum Price proposal or the Owner’s issuance of a Notice to Proceed, whichever occurs earlier.

        § 2.3.2 Administration
        § 2.3.2.1 Those portions of the Work that the Construction Manager does not customarily perform with the
        Construction Managers own personnel shall be performed under subcontracts or by other appropriate agreements
        with the Construction Manager. The Owner may designate specific persons from whom, or entities from which, the
        Construction Manager shall obtain bids. The Construction Manager shall obtain bids from Subcontractors and from
        suppliers of materials or equipment fabricated especially for the Work and shall deliver such bids to the Architect. The
        Owner shall then determine, with the advice of the Construction Manager and the Architect, which bids will be
        accepted. The Construction Manager shall not be required to contract with anyone to whom the Construction Manager
        has reasonable objection.

        § 2.3.2.2 Ifthe Guaranteed Maximum Price has been established and when a specific bidder (1) is recommended to the
        Owner by the Construction Manager, (2) is qualified to perform that portion of the Work, and (3) has submitted a bid
        that conforms to the requirements of the Contract Documents without reservations or exceptions, but the Owner
        requires that another bid be accepted, then the Construction Manager may require that a Change Order be issued to
        adjust the Contract Time and the Guaranteed Maximum Price by the difference between the bid of the person or entity
        recommended to the Owner by the Construction Manager and the amount and time requirement of the subcontract or
        other agreement actually signed with the person or entity designated by the Owner.

        § 2.3.2.3 Subcontracts or other agreements shall conform to the applicable payment provisions of this Agreement, and
        shall not be awarded on the basis of cost plus a fee without the prior consent of the Owner. If the Subcontract is
        awarded on a cost-plus a fee basis, the Construction Manager shall provide in the Subcontract for the Owner to receive
        the same audit rights with regard to the Subcontractor as the Owner receives with regard to the Construction Manager
        in Section 6.11 below.

        § 2.3.2.4 If the Construction Manager recommends a specific bidder that may be considered a "related party"
        according to Section 6.10, then the Construction Manager shall promptly notify the Owner in writing of such
        relationship and notify the Owner of the specific nature of the contemplated transaction, according to Section 6.10.2.

        § 2.3.2.5 The Construction Manager shall schedule and conduct meetings to discuss such matters as procedures,
        progress, coordination, scheduling, and status of the Work. The Construction Manager shall prepare and promptly
        distribute minutes to the Owner and Architect.



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          § 2.3.2.6 Upon the execution of the Guaranteed Maximum Price Amendment, the Construction Manager shall prepare
          and submit to the Owner and Architect a construction schedule for the Work and submittal schedule in accordance
         with Section 3.10 of A201-2007.

         § 2.3.2.7 The Construction Manager shall record the progress of the Project. On a monthly basis, or otherwise as
         agreed to by the Owner, the Construction Manager shall submit written progress reports to the Owner and Architect,
         showing percentages of completion and other information required by the Owner. The Construction Manager shall
         also keep, and make available to the Owner and Architect, a daily log containing a record for each day of weather,
         portions of the Work in progress, number of workers on site, identification of equipment on site, problems that might
         affect progress of the work, accidents, injuries, and other information required by the Owner.

         § 2.3.2.8 The Construction Manager shall develop a system of cost control for the Work, including regular monitoring
         of actual costs for activities in progress and estimates for uncompleted tasks and proposed changes. The Construction
         Manager shall identify variances between actual and estimated costs and report the variances to the Owner and
         Axchitect and shall provide this information in its monthly reports to the Owner and Architect, in accordance with
         Section 2.3.2.7 above.

         § 2.4 Professional Services
         Section 3.12.10 of A201-2007 shall apply to both the Preconstruction and Construction Phases.

         § 2.5 Hazardous Materials
         Section 10.3 of A201-2007 shall apply to both the Preconstruction and Construction Phases.

         ARTICLE 3       OWNER’'S RESPONSIBILITIES
         § 3.1 Information and Services Required of the Owner
         § 3.1.1 The Owner shall provide information with reasonable promptness, regarding requirements for and limitations
         on the Project, including a written program which shall set forth the Owner’s objectives, constraints, and criteria,
         including schedule, space requirements and relationships, flexibility and expandability, special equipment, systems
         sustainability and site requirements.

        § 3.1.2 Prior to the execution of the Guaranteed Maximum Price Amendment, the Construction Manager may request
        in writing that the Owner provide reasonable evidence that the Owner has made financial arrangements to fulfill the
        Owner’s obligations under the Contract. Thereafter, the Construction Manager may only request such evidence if (1)
        the Owner fails to make payments to the Construction Manager as the Contract Documents require, (2) a change in the
        Work materially changes the Contract Sum, or (3) the Construction Manager identifies in writing a reasonable concern
        regarding the Owner’s ability to make payment when due. The Owner shall furnish such evidence as a condition
        precedent to commencement or continuation of the Work or the portion of the Work affected by a material change.
        After the Owner furnishes the evidence, the Owner shall not materially vary such financial arrangements without prior
        notice to the Construction Manager and Architect.

        § 3.1.3 The Owner shall establish and periodically update the Owner’s budget for the Project, including (1) the budget
        for the Cost of the Work as defined in Section 6.1.1, (2) the Owner’s other costs, and (3) reasonable contingencies
        related to all of these costs. If the Owner significantly increases or decreases the Owner’s budget for the Cost of the
        Work, the Owner shall notify the Construction Manager and Architect. The Owner and the Architect, in consultation
        with the Construction Manager, shall thereafter agree to a corresponding change in the Project’s scope and quality.

        § 3.1.4 Structural and Environmental Tests, Surveys and Reports. During the Preconstruction Phase, the Owner shall
        furnish the following information or services with reasonable promptness. The Owner shall also furnish any other
        information or services under the Owner’s control and relevant to the Construction Manager's performance of the
        Work with reasonable promptness after receiving the Construction Managers written request for such information or
        services. The Construction Manager shall be entitled to rely on the accuracy of information and services furnished by
        the Owner but shall exercise proper precautions relating to the safe performance of the Work.

        § 3.1.4.1 The Owner shall furnish tests, inspections and reports required by law and as otherwise agreed to by the
        parties, such as structural, mechanical, and chemical tests, tests for air and water pollution, and tests for hazardous
        materials.


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         § 3.1.4.2 The Owner shall furnish surveys describing physical characteristics, legal limitations and utility locations for
         the site of the Project, and a legal description of the site. The surveys and legal information shall include, as applicable,
         grades and lines of streets, alleys, pavements and adjoining property and structures; designated wetlands; adjacent
         drainage; rights-of-way, restrictions, easements, encroachments, zoning, deed restrictions, boundaries and contours of
         the site; locations, dimensions and necessary data with respect to existing buildings, other improvements and trees;
         and information concerning available utility services and lines, both public and private, above and below grade,
         including inverts and depths. All the information on the survey shall be referenced to a Project benchmark.

         § 3.1.4.3 The Owner, when such services are requested, shall furnish services of geotechnical engineers, which may
         include but are not limited to test borings, test pits, determinations of soil bearing values, percolation tests, evaluations
         of hazardous materials, seismic evaluation, ground corrosion tests and resistivity tests, including necessary operations
         for anticipating subsoil conditions, with written reports and appropriate recommendations.

         § 3.1.4.4 During the Construction Phase, the Owner shall furnish information or services required of the Owner by the
         Contract Documents with reasonable promptness. The Owner shall also furnish any other information or services
         under the Owners control and relevant to the Construction Manager’s performance of the Work with reasonable
         promptness after receiving the Construction Manager’s written request for such information or services.

        § 3.2 Owner's Designated Representative
        The Owner shall identify a representative authorized to act on behalf of the Owner with respect to the Project. The
        Owner’s representative shall render decisions promptly and furnish information expeditiously, so as to avoid
        unreasonable delay in the services or Work of the Construction Manager. Except as otherwise provided in Section
        4.2.1 of A201-2007, the Architect does not have such authority. The term "Owner" means the Owner or the Owner’s
        authorized representative.

        § 3.2.1 Legal Requirements. The Owner shall furnish all legal, insurance and accounting services, including auditing
        services, that may be reasonably necessary at any time for the Project to meet the Owner’s needs and interests.

        § 3.3 Architect
        The Owner shall retain an Architect to provide services, duties and responsibilities as described in AIA Document
        B103™-2007, Standard Form of Agreement Between Owner and Architect, including any additional services
        requested by the Construction Manager that are necessary for the Preconstruction and Construction Phase services
        under this Agreement. The Owner shall provide the Construction Manager a copy of the executed agreement between
        the Owner and the Architect, and any further modifications to the agreement.

        ARTICLE 4       COMPENSATION AND PAYMENTS FOR PRECONSTRUCTION PHASE SERVICES
        § 4.1 Compensation
        § 4.1.1 For the Construction Manager’s Preconstruction Phase services, the Owner shall compensate the Construction
        Manager as follows:

        § 4.1.2 For the Construction Manager’s Preconstruction Phase services described in Sections 2.1 and 2.2;
        (Insert amount of, or basis for, compensation and include a list of reimbursable cost items, as applicable.)

        The Construction Manager’s Preconstruction Phase services will be billed at an hourly rate (see below) on a monthly
        basis for services performed such as estimating and document review along with miscellaneous material expense
        which will include printing cost for drawings and any other documents required on a monthly basis.

         -Gary Bichler.............ooeennne $100.00 per hour
         -Michael Kinney.................. $ 76.00 per hour
         -William Gannon..................5 76.00 per hour                          il I
         -Dave Sanford............coo..uuis $ 70.00 per hour                      / A i
         -Kyle Henrikson. ................. $ 35.00 per hour                     [|
         -Superintendent .................. $ 67.00 per hour                In   7k
         -Administrative............cocvvene $ 30.00 per hour               Fy




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         § 4.1.3 If the Preconstruction Phase services covered by this Agreement have not been completed within Twelve ( 12
        ) months of the date of this Agreement, through no fault of the Construction Manager, the Construction Manager’s
         compensation for Preconstruction Phase services shall be equitably adjusted.

        § 4.1.4 Compensation based on Direct Personnel Expense includes the direct salaries of the Construction Managers
        personnel providing Preconstruction Phase services on the Project and the Construction Manager’s costs for the
        mandatory and customary contributions and benefits related thereto, such as employment taxes and other statutory
        employee benefits, insurance, sick leave, holidays, vacations, employee retirement plans and similar contributions.

        § 4.2 Payments
        § 4.2.1 Unless otherwise agreed, payments for services shall be made monthly in proportion to services performed.

        § 4.2.2 Payments are due and payable upon presentation of the Construction Manager’s invoice. Amounts unpaid
        Thirty ( 30 ) days after the invoice date shall bear interest at the rate entered below, or in the absence thereof at the
        legal rate prevailing from time to time at the principal place of business of the Construction Manager.
        (Insert rate of monthly or annual interest agreed upon.)

        5.00 % per annum

        ARTICLE 5      COMPENSATION FOR CONSTRUCTION PHASE SERVICES
        § 5.1 For the Construction Manager’s performance of the Work as described in Section 2.3, the Owner shall pay the
        Construction Manager the Contract Sum in current funds. The Contract Sum is the Cost of the Work as defined in
        Section 6.1.1 plus the Construction Manager’s Fee.

        § 5.1.1 The Construction Manager’s Fee:
        (State a lump sum, percentage of Cost of the Work or other provision for determining the Construction Manager's
        Fee.)                                                                                                       1

        The Construction Manager’s fee shall be four and a quarter percent (4.25%) of the total job cost.                            /    12

        § 5.1.2 The method of adjustment of the Construction Managet’s Fee for changes in the Work:                            / 7

        Construction Manager shall be entitled to a one percent (1%) mark-up for insurances and four and a quarter percent
        (4.25%) overhead / profit on any add changes to the work.

        § 5.1.3 Limitations, if any, on a Subcontractor’s overhead and profit for increases in the cost of its portion of the Work:

        Subcontractors are entitled to ten percent (10%) overhead and five percent (5%) profit on any add changes.

        § 5.1.4 Rental rates for Construction Manager-owned equipment shall not exceed One and five hundredths percent (
         1.05 %) of the standard rate paid at the place of the Project.

        § 5.1.5 Unit prices, if any:
        (Identify and state the unit price; state the quantity limitations, if any, to which the unit price will be applicable.)

                   Item                                                   Units and Limitations             Price per Unit ($0.00)
                   N/A

        § 5.2 Guaranteed Maximum Price
        § 5.2.1 The Construction Manager guarantees that the Contract Sum shall not exceed the Guaranteed Maximum Price
        set forth in the Guaranteed Maximum Price Amendment, as it is amended from time to time. To the extent the Cost of
        the Work exceeds the Guaranteed Maximum Price, the Construction Manager shall bear such costs in excess of the
        Guaranteed Maximum Price without reimbursement or additional compensation from the Owner.
        (Insert specific provisions if the Construction Manager is fo participate in any savings.)

        All savings (100%) shall accrue to the Owner regardless of source (value engineering, unused contingencies, or
        negotiated purchases).
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         § 5.2.2 The Guaranteed Maximum Price is subject to additions and deductions by Change Order as provided in the
         Contract Documents and the Date of Substantial Completion shall be subject to adjustment as provided in the Contract
         Documents.

        § 5.3 Changes in the Work
        § 5.3.1 The Owner may, without invalidating the Contract, order changes in the Work within the general scope of the
        Contract consisting of additions, deletions or other revisions, The Owner shall issue such changes in writing. The
        Architect may make minor changes in the Work as provided in Section 7.4 of AIA Document A201-2007, General
        Conditions of the Contract for Construction. The Construction Manager shall be entitled to an equitable adjustment in
        the Contract Time as a result of changes in the Work.

        § 5.3.2 Adjustments to the Guaranteed Maximum Price on account of changes in the Work subsequent to the execution
        of the Guaranteed Maximum Price Amendment may be determined by any of the methods listed in Section 7.3.3 of
        AIA Document A201-2007, General Conditions of the Contract for Construction.

        § 5.3.3 In calculating adjustments to subcontracts (except those awarded with the Owner’s prior consent on the basis
        of cost plus a fee), the terms "cost" and "fee" as used in Section 7.3.3.3 of ATA Document A201-2007 and the term
        "costs" as used in Section 7.3.7 of ATA Document A201-2007 shall have the meanings assigned to them in ATA
        Document A201-2007 and shall not be modified by Sections 5.1 and 5.2, Sections 6.1 through 6.7, and Section 6.8 of
        this Agreement. Adjustments to subcontracts awarded with the Owner’s prior consent on the basis of cost plus a fee
        shall be calculated in accordance with the terms of those subcontracts.

        § 5.3.4 In calculating adjustments to the Guaranteed Maximum Price, the terms "cost" and "costs" as used in the
        above-referenced provisions of AIA Document A201-2007 shall mean the Cost of the Work as defined in Sections 6.1
        10 6.7 of this Agreement and the term "fee" shall mean the Construction Manager’s Fee as defined in Section 5.1 of this
        Agreement.

        § 5.3.5 If no specific provision is made in Section 5.1.2 for adjustment of the Construction Manager’s Fee in the case
        of changes in the Work, or if the extent of such changes is such, in the aggregate, that application of the adjustment
        provisions of Section 5.1.2 will cause substantial inequity to the Owner or Construction Manager, the Construction
        Manager’s Fee shall be equitably adjusted on the same basis that was used to establish the Fee for the original Work,
        and the Guaranteed Maximum Price shall be adjusted accordingly.

        ARTICLE 6      COST OF THE WORK FOR CONSTRUCTION PHASE
        § 6.1 Costs to Be Reimbursed
        § 6.1.1 The term Cost of the Work shall mean costs necessarily incurred by the Construction Manager in the proper
        performance of the Work. Such costs shall be at rates not higher than the standard paid at the place of the Project
        except with prior consent of the Owner. The Cost of the Work shall include only the items set forth in Sections 6.1
        through 6.7.

        § 6.1.2 Where any cost is subject to the Owners prior approval, the Construction Manager shall obtain this approval
        prior to incurring the cost. The parties shall endeavor to identify any such costs prior to executing Guaranteed
        Maximum Price Amendment.

        § 6.2 Labor Costs
        § 6.2.1 Wages of construction workers directly employed by the Construction Manager to perform the construction of
        the Work at the site or, with the Owner’s prior approval, at off-site workshops.

         § 6.2.2 Wages or salaries of the Construction Managers supervisory and administrative personnel solely for the time
          they are stationed at the site and with the Owner’s prior approval or as identified by the Construction Manager and
         approved by the Owner .. See Section 11.5 of this contract.
         (If it is intended that the wages or salaries of certain personnel stationed at the Construction Manager's principal or
         other qffices shall be included in the Cost of the Work, identify in Section 11.5, the personnel to be included, whether
        for all or only part of their time, and the rates at which their time will be charged to the Work.)



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        § 6.2.3 Wages and salaries of the Construction Manager’s supervisory or administrative personnel engaged at
        factories, workshops or on the road, in expediting the production or transportation of materials or equipment required
        for the Work, but only for that portion of their time required for the Work.

        § 6.2.4 Costs paid or incurred by the Construction Manager for taxes, insurance, contributions, assessments and
        benefits required by law or collective bargaining agreements and, for personnel not covered by such agreements,
        customary benefits such as sick leave, medical and health benefits, holidays, vacations and pensions, provided such
        costs are based on wages and salaries included in the Cost of the Work under Sections 6.2.1 through 6.2.3.

        § 6.2.5 Bonuses, profit sharing, incentive compensation and any other discretionary payments paid to anyone hired by
        the Construction Manager or paid to any Subcontractor or vendor, with the Owner’s prior approval.

        § 6.3 Subcontract Costs
        Payments made by the Construction Manager to Subcontractors in accordance with the requirements of the
        subcontracts.

        § 6.4 Costs of Materials and Equipment Incorporated in the Completed Construction
        § 6.4.1 Costs, including transportation and storage, of materials and equipment incorporated or to be incorporated in
        the completed construction.

        § 6.4.2 Costs of materials described in the preceding Section 6.4.1 in excess of those actually installed to allow for
        reasonable waste and spoilage. Unused excess materials, if any, shall become the Owner’s property at the completion
        of the Work or, at the Owner’s option, shall be sold by the Construction Manager. Any amounts realized from such
        sales shall be credited to the Owner as a deduction from the Cost of the Work.

        § 6.5 Costs of Other Materials and Equipment, Temporary Facilities and Related Items
        § 6.5.1 Costs of transportation, storage, installation, maintenance, dismantling and removal of materials, supplies,
        temporary facilities, machinery, equipment and hand tools not customarily owned by construction workers that are
        provided by the Construction Manager at the site and fully consumed in the performance of the Work. Costs of
        materials, supplies, temporary facilities, machinery, equipment and tools that are not fully consumed shall be based on
        the cost or value of the item at the time it is first used on the Project site less the value of the item when it is no longer
        used at the Project site. Costs for items not fully consumed by the Construction Manager shall mean fair market value.

        § 6.5.2 Rental charges for temporary facilities, machinery, equipment and hand tools not customarily owned by
        construction workers that are provided by the Construction Manager at the site and costs of transportation, installation,
        minor repairs, dismantling and removal. The total rental cost of any Construction Manager-owned item may not
        exceed the purchase price of any comparable item. Rates of Construction Manager-owned equipment and quantities of
        equipment shall be subject to the Owner’s prior approval.

        § 6.5.3 Costs of removal of debris from the site of the Work and its proper and legal disposal.

        § 6.5.4 Costs of document reproductions, facsimile transmissions and long-distance telephone calls, postage and
        parcel delivery charges, telephone service at the site and reasonable petty cash expenses of the site office.

        § 6.5.5 That portion of the reasonable expenses of the Construction Manager’s supervisory or administrative
        personnel incurred while traveling in discharge of duties connected with the Work.

        § 6.5.6 Costs of materials and equipment suitably stored off the site at a mutually acceptable location, subject to the
        Owner’s prior approval.

        § 6.6 Miscellaneous Costs
        § 6.6.1 Premiums for that portion of insurance and bonds required by the Contract Documents that can be directly
        attributed to this Contract, Self-insurance for either full or partial amounts of the coverages required by the Contract
        Documents, with the Owners prior approval.

        § 6.6.2 Sales, use or similar taxes imposed by a governmental authority that are related to the Work and for which the
        Construction Manager is liable.
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          § 6.6.3 Fees and assessments for the building permit and for other permits, licenses and inspections for which the
          Construction Manager is required by the Contract Documents to pay.

          § 6.6.4 Fees of laboratories for tests required by the Contract Documents, except those related to defective or
          nonconforming Work for which reimbursement is excluded by Section 13.5.3 of AIA Document A201-2007 or by
          other provisions of the Contract Documents, and which do not fall within the scope of Section 6.7.3.

         § 6.6.5 Royalties and license fees paid for the use of a particular design, process or product required by the Contract
         Documents; the cost of defending suits or claims for infringement of patent rights arising from such requirement of the
         Contract Documents; and payments made in accordance with legal judgments against the Construction Manager
         resulting from such suits or claims and payments of settlements made with the Owner’s consent. However, such costs
         of legal defenses, judgments and settlements shall not be included in the calculation of the Construction Manager’s
         Fee or subject to the Guaranteed Maximum Price. If such royalties, fees and costs are excluded by the last sentence of
         Section 3.17 of ATA Document A201-2007 or other provisions of the Contract Documents, then they shall not be
         included in the Cost of the Work.

         § 6.6.6 Costs for electronic equipment and software, directly related to the Work with the Owners prior approval.

         § 6.6.7 Deposits lost for causes other than the Construction Manager’s negligence or failure to fulfill a specific
         responsibility in the Contract Documents.

         § 6.6.8 Legal, mediation and arbitration costs, including attorneys’ fees, other than those arising from disputes
         between the Owner and Construction Manager, reasonably incurred by the Construction Manager after the execution
         of this Agreement in the performance of the Work and with the Owners prior approval, which shall not be
         unreasonably withheld.

         § 6.6.9 Subject to the Owner’s prior approval, expenses incurred in accordance with the Construction Manager’s
         standard written personnel policy for relocation and temporary living allowances of the Construction Managers
         personnel required for the Work.

        § 6.7 Other Costs and Emergencies
        § 6.7.1 Other costs incurred in the performance of the Work if; and to the extent, approved in advance in writing by the
        Owner.

        § 6.7.2 Costs incurred in taking action to prevent threatened damage, injury or loss in case of an emergency affecting
        the safety of persons and property, as provided in Section 10.4 of AIA Document A201-2007.

        § 6.7.3 Costs of repairing or correcting damaged or nonconforming Work executed by the Construction Manager,
        Subcontractors or suppliers, provided that such damaged or nonconforming Work was not caused by negligence or
        failure to fulfill a specific responsibility of the Construction Manager and only to the extent that the cost of repair or
        correction is not recovered by the Construction Manager from insurance, sureties, Subcontractors, suppliers, or others.

        § 6.7.4 The costs described in Sections 6.1 through 6.7 shall be included in the Cost of the Work, notwithstandin g any
        provision of AIA Document A201-2007 or other Conditions of the Contract which may require the Construction
        Manager to pay such costs, unless such costs are excluded by the provisions of Section 6.8.

        § 6.8 Costs Not To Be Reimbursed
        § 6.8.1 The Cost of the Work shall not include the items listed below:
                  A    Salaries and other compensation of the Construction Managers personnel stationed at the Construction
                       Manager’s principal office or offices other than the site office, except as specifically provided in
                       Section 6.2, or as may be provided in Article 11;
                       Expenses of the Construction Managers principal office and offices other than the site office;
                       Overhead and general expenses, except as may be expressly included in Sections 6.1 to 6.7;
                  wn




                       The Construction Manager's capital expenses, including interest on the Construction Manager’s capital
                       employed for the Work;


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                      5    Except as provided in Section 6.7.3 of this Agreement, costs due to the negligence or failure of the
                           Construction Manager, Subcontractors and suppliers or anyone directly or indirectly employed by any
                           of them or for whose acts any of them may be liable to fulfill a specific responsibility of the Contract;
                      6    Any cost not specifically and expressly described in Sections 6.1 to 6.7;
                      1    Costs, other than costs included in Change Orders approved by the Owner, that would cause the
                           Guaranteed Maximum Price to be exceeded; and
                      8    Costs for services incurred during the Preconstruction Phase.

         § 6.9 Discounts, Rebates and Refunds
         § 6.9.1 Cash discounts obtained on payments made by the Construction Manager shall accrue to the Owner if (1)
         before making the payment, the Construction Manager included them in an Application for Payment and received
         payment from the Owner, or (2) the Owner has deposited funds with the Construction Manager with which to make
         payments; otherwise, cash discounts shall accrue to the Construction Manager. Trade discounts, rebates, refunds and
         amounts received from sales of surplus materials and equipment shall accrue to the Owner, and the Construction
         Manager shall make provisions so that they can be obtained.

         § 6.9.2 Amounts that accrue to the Owner in accordance with the provisions of Section 6.9.1 shall be credited to the
         Owner as a deduction from the Cost of the Work.

         § 6.10 Related Party Transactions
         § 6.10.1 For purposes of Section 6.10, the term "related party" shall mean a parent, subsidiary, affiliate or other entity
         having common ownership or management with the Construction Manager; any entity in which any stockholder in, or
         management employee of, the Construction Manager owns any interest in excess of ten percent in the aggregate; or
         any person or entity which has the right to control the business or affairs of the Construction Manager. The term
         "related party" includes any member of the immediate family of any person identified above.

        § 6.10.2 If any of the costs to be reimbursed arise from a transaction between the Construction Manager and a related
        party, the Construction Manager shall notify the Owner of the specific nature of the contemplated transaction,
        including the identity of the related party and the anticipated cost to be incurred, before any such transaction is
        consummated or cost incurred. If the Owner, after such notification, authorizes the proposed transaction, then the cost
        incurred shall be included as a cost to be reimbursed, and the Construction Manager shall procure the Work,
        equipment, goads or service from the related party, as a Subcontractor, according to the terms of Sections 2.3.2.1,
        2.3.2.2 and 2.3.2.3. If the Owner fails to authorize the transaction, the Construction Manager shall procure the Work,
        equipment, goods or service from some person or entity other than a related party according to the terms of Sections
        2.3.2.1,2.3.2.2 and 2.3.2.3.

        § 6.11 Accounting Records
        The Construction Manager shall keep full and detailed records and accounts related to the cost of the Work and
        exercise such controls as may be necessary for proper financial management under this Contract and to substantiate all
        costs incurred. The accounting and control systems shall be satisfactory to the Owner. The Owner and the Owner’s
        auditors shall, during regular business hours and upon reasonable notice, be afforded access to, and shall be permitted
        to audit and copy, the Construction Manager’s records and accounts, including complete documentation supporting
        accounting entries, books, correspondence, instructions, drawings, receipts, subcontracts, Subcontractor’s proposals,
        purchase orders, vouchers, memoranda and other data relating to this Contract. The Construction Manager shall
        preserve these records for a period of three years after final payment, or for such longer period as may be required by
        law.

        ARTICLE 7      PAYMENTS FOR CONSTRUCTION PHASE SERVICES
        § 7.1 Progress Payments
        § 7.1.1 Based upon Applications for Payment submitted to the Architect by the Construction Manager and Certificates
        for Payment issued by the Architect, the Owner shall make progress payments on account of the Contract Sum to the
        Construction Manager as provided below and elsewhere in the Contract Documents.

        § 7.1.2 The period covered by each Application for Payment shall be one calendar month ending on the last day of the
        month, or as follows:



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         § 7.1.3 Provided that an Application for Payment is received by the Architect not later than the Last day of a month,
         the Owner shall make payment of the certified amount to the Construction Manager not later than the Thirtieth day of
         the following month. [fan Application for Payment is received by the Architect after the application date fixed above,
         payment shall be made by the Owner not later than Thirty ( 30 ) days after the Architect receives the Application for
         Payment.
         (Federal, state or local laws may require payment within a certain period of time.)

         § 7.1.4 With each Application for Payment, the Construction Manager shall submit payrolls, petty cash accounts,
         receipted invoices or invoices with check vouchers attached, and any other evidence required by the Owner or
         Architect to demonstrate that cash disbursements already made by the Construction Manager on account of the Cost of
         the Work equal or exceed progress payments already received by the Construction Manager, less that portion of those
         payments attributable to the Construction Manager's Fee, plus payrolls for the period covered by the present
         Application for Payment.

        § 7.1.5 Each Application for Payment shall be based on the most recent schedule of values submitted by the
        Construction Manager in accordance with the Contract Documents. The schedule of values shall allocate the entire
        Guaranteed Maximum Price among the various portions of the Work, except that the Construction Manager’s Fee
        shall be shown as a single separate item. The schedule of values shall be prepared in such form and supported by such
        data to substantiate its accuracy as the Architect may require. This schedule, unless objected to by the Architect, shall
        be used as a basis for reviewing the Construction Managers Applications for Payment.

        § 7.1.6 Applications for Payment shall show the percentage of completion of each portion of the Work as of the end of
        the period covered by the Application for Payment. The percentage of completion shall be the lesser of (1) the
        percentage of that portion of the Work which has actually been completed, or (2) the percentage obtained by dividing
        (a) the expense that has actually been incurred by the Construction Manager on account of that portion of the Work for
        which the Construction Manager has made or intends to make actual payment prior to the next Application for
        Payment by (b) the share of the Guaranteed Maximum Price allocated to that portion of the Work in the schedule of
        values.

        § 7.1.7 Subject to other provisions of the Contract Documents, the amount of each progress payment shall be
        computed as follows:
                  1    Take that portion of the Guaranteed Maximum Price properly allocable to completed Work as
                       determined by multiplying the percentage of completion of each portion of the Work by the share of the
                       Guaranteed Maximum Price allocated to that portion of the Work in the schedule of values. Pending
                          final determination of cost to the Owner of changes in the Work, amounts not in dispute shall be
                          included as provided in Section 7.3.9 of ATA Document A201-2007,
                   2      Add that portion of the Guaranteed Maximum Price properly allocable to materials and equipment
                        . delivered and suitably stored at the site for subsequent incorporation in the Work, or if approved in
                          advance by the Owner, suitably stored off the site at a location agreed upon in writing;
                   3      Add the Construction Managers Fee, less retainage of Ten percent ( 10.00 %). The Construction
                          Manager’s Fee shall be computed upon the Cost of the Work at the rate stated in Section 5.1 or, if the
                          Construction Manager’s Fee is stated as a fixed sum in that Section, shall be an amount that bears the
                          same ratio to that fixed-sum fee as the Cost of the Work bears to a reasonable estimate of the probable
                           Cost of the Work upon its completion;
                   4      Subtract retainage of Ten percent ( 10.00 %) from that portion of the Work that the Construction
                          Manager self-performs;
                          Subtract the aggregate of previous payments made by the Owner;
                  ow;




                          Subtract the shortfall, if any, indicated by the Construction Manager in the documentation required by
                          Section 7.1.4 to substantiate prior Applications for Payment, or resulting from errors subsequently
                          discovered by the Owner’s auditors in such documentation; and
                   I      Subtract amounts, if any, for which the Architect has withheld or nullified a Certificate for Payment as
                          provided in Section 9.5 of ATA Document A201-2007.

        § 7.1.8 The Owner and Construction Manager shall agree upon (1) a mutually acceptable procedure for review and
        approval of payments to Subcontractors and (2) the percentage of retainage held on Subcontracts, and the Construction
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        § 7.1.9 Except with the Owner’s prior approval, the Construction Manager shall not make advance payments to
        suppliers for materials or equipment which have not been delivered and stored at the site.

        § 7.1.10 In taking action on the Construction Manager’s Applications for Payment, the Architect shall be entitled to
        rely on the accuracy and completeness of the information furnished by the Construction Manager and shall not be
        deemed to represent that the Architect has made a detailed examination, audit or arithmetic verification of the
        documentation submitted in accordance with Section 7.1.4 or other supporting data; that the Architect has made
        exhaustive or continuous on-site inspections; or that the Architect has made examinations to ascertain how or for what
        purposes the Construction Manager has used amounts previously paid on account of the Contract. Such examinations,
        audits and verifications, if required by the Owner, will be performed by the Owner’s auditors acting in the sole interest
        of the Owner.

        § 7.2Final Payment
        § 7.2.1 Final payment, constituting the entire unpaid balance of the Contract Sum, shall be made by the Owner to the
        Construction Manager when
                  A     the Construction Manager has fully performed the Contract except for the Construction Manager’s
                       responsibility to correct Work as provided in Section 12.2.2 of AIA Document A201-2007, and to
                        satisfy other requirements, if any, which extend beyond final payment;
                  .2    the Construction Manager has submitted a final accounting for the Cost of the Work and a final
                        Application for Payment; and
                  23 a final Certificate for Payment has been issued by the Architect.

        The Owner’s final payment to the Construction Manager shall be made no later than 30 days after the issuance of the
        Architect’s final Certificate for Payment, or as follows:




        § 7.2.2 The Owner’s auditors will review and report in writing on the Construction Manager’s final accounting within
        30 days after delivery of the final accounting to the Architect by the Construction Manager. Based upon such Cost of
        the Work as the Owner’s auditors report to be substantiated by the Construction Manager’s final accounting, and
        provided the other conditions of Section 7.2.1 have been met, the Architect will, within seven days after receipt of the
        written report of the Owner’s auditors, either issue to the Owner a final Certificate for Payment with a copy to the
        Construction Manager, or notify the Construction Manager and Owner in writing of the Architect’s reasons for
        withholding a certificate as provided in Section 9.5.1 of the AIA Document A201-2007. The time periods stated in
        this Section supersede those stated in Section 9.4.1 of the ATA Document A201-2007. The Architect is not responsible
        for verifying the accuracy of the Construction Managers final accounting.

        § 7.2.3 If the Owner’s auditors report the Cost of the Work as substantiated by the Construction Managers final
        accounting to be less than claimed by the Construction Manager, the Construction Manager shall be entitled to request
        mediation of the disputed amount without seeking an initial decision pursuant to Section 15.2 of A201-2007. A
        request for mediation shall be made by the Construction Manager within 30 days after the Construction Manager’s
        receipt of a copy of the Architect’s final Certificate for Payment. Failure to request mediation within this 30-day
        period shall result in the substantiated amount reported by the Owner’s auditors becoming binding on the Construction
        Manager. Pending a final resolution of the disputed amount, the Owner shall pay the Construction Manager the
        amount certified in the Architect’s final Certificate for Payment.

        § 7.2.4 If, subsequent to final payment and at the Owner’s request, the Construction Manager incurs costs described in
        Section 6.1.1 and not excluded by Section 6.8 to correct defective or nonconforming Work, the Owner shall reimburse
        the Construction Manager such costs and the Construction Manager’s Fee applicable thereto on the same basis as if
        such costs had been incurred prior to final payment, but not in excess of the Guaranteed Maximum Price. If the
        Construction Manager has participated in savings as provided in Section 5.2.1, the amount of such savings shall be
        recalculated and appropriate credit given to the Owner in determining the net amount to be paid by the Owner to the
        Construction Manager.




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        ARTICLE 8      INSURANCE AND BONDS
        For all phases of the Project, the Construction Manager and the Owner shall purchase and maintain insurance, and the
        Construction Manager shall provide bonds as set forth in Article 11 of AIA Document A201-2007.
                                                                   for insurance required in Article 11 of AIA Document
        (State bonding requirements, if any, and limits of liability
        A201-2007.)
                  Type of Insurance or Bond                              Limit of Liability or Bond Amount ($0.00)
                   General Liability
                    -Each Occurrence                                     $ 1,000,000.00
                    -Damages to Rented Premises
                     (Ea. Occurrence)                                    $    500,000.00
                    -Medical Exp (Any One Person)                        $      10,000.00
                    -Personal & Ady. Injury                              $ 1,000,000.00
                    -General Aggregate                                   $ 2,000,000.00
                    ~Products-Comp/OP Agg.                               $ 2,000,000.00

                  Automobile Liability
                    -Combined Single Limit                               $ 1,000,000.00

                  Excess/Umbrella Liability
                    -Each Occurrence                                     $20,000,000.00
                    -Aggregate                                           $20,000,000.00

                  Workers’ Compensation and Employers’
                    Liability
                    -Each Accident                                       $    1,000,000.00
                    -Disease-Policy Limit                                $    1,000,000.00
                    -Disease-Each Employee                               $    1,000,000.00


                  The insurance limits for RPOHD’s
                  Subcontractors will be based upon the
                  limits required by RPOHD’s Master
                  Subcontract Agreement.


                   Per Project Aggregate must apply to the                              10/27/15           Updated              "Additional           Insureds”
                  General Liability; Campus Square, LLC,
                   Campus Square Affordable, LLC,                                       (more to follow upon completion of
                  McGuire Development Com                       C
                  Pilgrim Village Associates,        LP, Smith &                        financing           etc. by the end                  of the year)
                   Assaciates.andall other parties as required                          MHT        Holdings,             Inc.
                   by written contract; are to be named as                                                           4
                  Additional insured on a Primary,
                  Non-Contributory basis for your work                                                                          oy
                  (Including Ongoing and Completed                                                                        Atay tS
                   Operations) under the General Liability;                                                                             {
                  Automobile Liability and UmbrgHa
                  Liability; Waiver of Subrogation must




                   Associates ufider the General Liability and
                   Workers’ Compensation Policies.



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                          IMPORTANT: ADDITIONAL
                          INSURED ENDORSEMENT MUST
                          INCLUDE ONGOING AND
                          COMPLETED OPERATIONS
                          LANGUAGE ALONG WITH A COPY
                          OF THE GL AND WC "WAIVER OF
                          SUBROGATION" (TRANSFER OF
                          RIGHTS).

                          Thirty (30) day cancellation notice is
                          required for the GL and WC Certificate.


                      Performance and Labor & Material
                      Bonds and Builder’s Risk are excluded
                      but are available for an additional cost,

         ARTICLE 9              DISPUTE RESOLUTION
         § 9.1 Any Claim between the Owner and Construction Manager shall be resolved in accordance with the provisions
         set forth in this Article 9 and Article [5 of A201-2007. However, for Claims arising from or relating to the
         Construction Manager’s Preconstruction Phase services, no decision by the Initial Decision Malcer shall be required as
         a condition precedent to mediation or binding dispute resolution, and Section 9.3 of this Agreement shall not apply.

        § 9.2 For any Claim subject to, but not resolved by mediation pursuant to Section 15.3 of ATA Document A201-2007,
        the method of binding dispute resolution shall be as follows:
        (Check the appropriate box. If the Owner and Construction Manager do not select a method of binding dispute
        resolution below, or do not subsequently agree inwriting to a binding dispute resolution method other than litigation,
         Claims will be resolved by litigation in a court of competent jurisdiction.)

                      [     1     Arbitration pursuant to Section 15.4 of ATA Document A201-2007

                      [X]         Litigation in a court of competent jurisdiction

                      [1]         Other: (Specify)



        § 9.3 Initial Decision Maker
        The Architect will serve as the Initial Decision Maker pursuant to Section 15.2 of ATA Document A201-2007 for
        Claims arising from or relating to the Construction Manager’s Construction Phase services, unless the parties appoint
        below another individual, not a party to the Agreement, to serve as the Initial Decision Maker.
        (If the parties mutually agree, insert the name, address and other contact information of the Initial Decision Maker, if
        other than the Architect.)




        ARTICLE 10      TERMINATION OR SUSPENSION
        § 10.1 Termination Prior to Establishment of the Guaranteed Maximum Price
        § 10.1.1 Prior to the execution of the Guaranteed Maximum Price Amendment, the Owner may terminate this
        Agreement upon not less than seven days’ written notice to the Construction Manager for the Owner’s convenience
        and without cause, and the Construction Manager may terminate this Agreement, upon not less than seven days’
        written notice to the Owner, for the reasons set forth in Section 14.1.1 of A201-2007.



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          § 10.1.2 In the event of termination of this Agreement pursuant to Section 10.1.1, the Construction Manager shall be
          equitably compensated for Preconstruction Phase services performed prior to receipt of a notice of termination. In no
          event shall the Construction Manager’s compensation under this Section exceed the compensation set forth in Section
          4.1.

          § 10.1.3 If the Owner terminates the Contract pursuant to Section 10.1.1 after the commencement of the Construction
          Phase but prior to the execution of the Guaranteed Maximum Price Amendment, the Owner shall pay to the
          Construction Manager an amount calculated as follows, which amount shall be in addition to any compensation paid
          to the Construction Manager under Section 10.1.2:
                    1     Take the Cost of the Work incurred by the Construction Manager to the date of termination;
                    2     Add the Construction Managers Fee computed upon the Cost of the Work to the date of termination at
                            the rate stated in Section 5.1 or, if the Construction Manager’s Fee is stated as a fixed sum in that
                            Section, an amount that bears the same ratio to that fixed-sum Fee as the Cost of the Work at the time of
                            termination bears to a reasonable estimate of the probable Cost of the Work upon its completion; and
                      3     Subtract the aggregate of previous payments made by the Owner for Construction Phase services.

         The Owner shall also pay the Construction Manager fair compensation, either by purchase or rental at the election of
         the Owner, for any equipment owned by the Construction Manager which the Owner elects to retain and which is not
         otherwise included in the Cost of the Work under Section 10.1.3.1. To the extent that the Owner elects to take legal
         assignment of subcontracts and purchase orders (including rental agreements), the Construction Manager shall, as a
         condition of receiving the payments referred to in this Article 10, execute and deliver all such papers and take all such
         steps, including the legal assignment of such subcontracts and other contractual rights of the Construction Manager, as
         the Owner may require for the purpose of fully vesting in the Owner the rights and benefits of the Construction
         Manager under such subcontracts or purchase orders. All Subcontracts, purchase orders and rental agreements entered
         into by the Construction Manager will contain provisions allowing for assignment to the Owner as described above.

         Ifthe Owner accepts assignment of subcontracts, purchase orders or rental agreements as described above, the Owner
         will reimburse or indemnify the Construction Manager for all costs arising under the subcontract, purchase order or
         rental agreement, if those costs would have been reimbursable as Cost of the Work if the contract had not been
         terminated. If the Owner chooses not to accept assignment of any subcontract, purchase order or rental agreement
                                                                                                                          that
         would have constituted a Cost of the Work had this agreement not been terminated, the Construction Manager will
         terminate the subcontract, purchase order or rental agreement and the Owner will pay the Construction Manager the
         costs necessarily incurred by the Construction Manager because of such termination.

         § 10.2 Termination Subsequent to Establishing Guaranteed Maximum Price
         Following execution of the Guaranteed Maximum Price Amendment and subject to the provisions of Section 10.2.1
         and 10.2.2 below, the Contract may be terminated as provided in Article 14 of ATA Document A201—2007.

        § 10.2.1 If the Owner terminates the Contract after execution of the Guaranteed Maximum Price Amendment, the
        amount payable to the Construction Manager pursuant to Sections 14.2 and 14.4 of A201-2007 shall not exceed the
        amount the Construction Manager would otherwise have received pursuant to Sections 10.1.2 and 10.1.3 of this
        Agreement.

        § 10.2.2 If the Construction Manager terminates the Contract after execution of the Guaranteed Maximum Price
        Amendment, the amount payable to the Construction Manager under Section 14.1.3 of A201-2007 shall not exceed
        the amount the Construction Manager would otherwise have received under Sections 10.1.2 and 10.1.3 above, except
        that the Construction Manager’s Fee shall be calculated as if the Work had been fully completed by the Construction
        Manager, utilizing as necessary a reasonable estimate of the Cost of the Work for Work not actually completed.

        § 10.3 Suspension
        The Work may be suspended by the Owner as provided in Article 14 of AIA Document A201-2007. In such case, the
        Guaranteed Maximum Price and Contract Time shall be increased as provided in Section 14.3.2 of AIA Document
        A201-2007, except that the term "profit" shall be understood to mean the Construction Manager’s Fee as described in
        Sections 5.1 and 5.3.5 of this Agreement.

        ARTICLE 11      MISCELLANEOUS PROVISIONS
        § 11.1 Terms in this Agreement shall have the same meaning as those in A201-2007.
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        § 11.2 Ownership and Use of Documents
        Section 1.5 of A201-2007 shall apply ta both the Preconstruction and Construction Phases.

        § 11.3 Governing Law
        Section 13.1 of A201-2007 shall apply to both the Preconstruction and Construction Phases.

        § 11.4 Assignment
        The Owner and Construction Manager, respectively, bind themselves, their agents, successors, assigns and legal
        representatives to this Agreement. Neither the Owner nor the Construction Manager shall assign this Agreement
        without the written consent of the other, except that the Owner may assign this Agreement to a lender providing
        financing for the Project if the lender agrees to assume the Owners rights and obligations under this Agreement.
        Except as provided in Section 13.2.2 of A201-2007, neither party to the Contract shall assign the Contract as a whole
        without written consent of the other. If either party attempts to make such an assignment without such consent, that
        party shall nevertheless remain legally responsible for all obligations under the Contract.

        § 11.5 Other provisions:

        On/Off Site Wages:
         -Gary Bichler............ CTR $100.00 per hour
         -Michael Kinney.................. $ 76.00 per hour
         -William Gannon..................5 76.00 per hour
         -Dave Sanford. .............oeeenes $ 70.00 per hour
         -Kyle Henrikson.................. $ 35.00 per hour
         -Superintendent .................. $ 67.00 per hour
         -Administrative................. ..$ 30.00 per hour


        ARTICLE 12      SCOPE OF THE AGREEMENT
        § 12.1 This Agreement represents the entire and integrated agreement between the Owner and the Construction
        Manager and supersedes all prior negotiations, representations or agreements, either written or oral. This Agreement
        may be amended only by written instrument signed by both Owner and Construction Manager.

        § 12.2 The following documents comprise the Agreement:
                      AIA Document A133-2009, Standard Form of Agreement Between Owner and Construction Manager
                       as Constructor where the basis of payment is the Cost of the Work Plus a Fee with a Guaranteed
                       Maximum Price
                   .2     ATA Document A201-2007, General Conditions of the Contract for Construction
                    3     AIA Document E201™-2007, Digital Data Protocol Exhibit, if completed, or the following:

                          See GMP Amendment.

                   4      AIA Document E202™-2008, Building Information Modeling Protocol Exhibit, if completed, or the
                          following:

                          See GMP Amendment,

                   5      Other documents:
                          (List other documents, if any, forming part of the Agreement.)

                          See GMP Amendment.

                   .6     Limited Scopes of Work.
                          A.     Precon Construction Services and Mobilization.
                          B.    Asbestos Abatement and Selective Demolition.



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            This       eement is entered ru
                                         into as of the            and year first written above,



                        lI¥: “            A                                           Za
                                                                                                       LLC   N MANAGER (Signature)

        |     Jeffrey P. Lehrbach, Vice President                                          Gary R. Bichler, Partner
              (Printed name and title)                                                     (Printed name and litle)




              Owner (Signature)                Mark Trammell




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